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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                  Case No. 1:20-cv-23242-BB

   UNITED STATES OF AMERICA ex rel. SEDONA
   PARTNERS LLC,

                 Plaintiff,
          vs.

   ABLE MOVING & STORAGE, INC.; et al.,


                 Defendants.



         RELATOR’S NOTICE OF ENTRY OF PARTIES LISTED INTO CM/ECF

         Pursuant to Clerk’s Notice [DE 151], Relator hereby gives notice that the parties identified

  in the First Amended Complaint [DE 149] (the “FAC”) filed August 20, 2021 have been entered

  into the Court’s CM/ECF system as follows:

            1. Arpin Van Lines, Inc was changed to: Arpin International Group, Inc.

            2. New World Van Lines, Inc. was changed to: New World International, Ltd.

            3. Dewitt Companies Limited, LLC was changed to: DeWitt Companies Limited,

                LLC.

 Dated: August 24, 2021                               Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on August 24, 2021 I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day on all counsel of record or pro se parties identified on the attached Service

  List in the manner specified, either via transmission of a Notice of Electronic Filing generated by

  CM/ECF or in some other authorized manner for those counsel or parties who are not authorized

  to receive electronically Notices of Electronic Filing.


                                                            /s Ryon M. McCabe
                                                               Ryon M. McCabe
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                                         SERVICE LIST

             UNITED STATES OF AMERICA ex rel. SEDONA PARTNERS LLC,
                                     v.
                       ABLE MOVING & STORAGE, INC., et al.

                           Case No. 20-CV-23242-BLOOM/Louis
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